Case 1:18-cv-00719-CCR   Document 219-2   Filed 07/12/24   Page 1 of 7




                  EXHIBIT 2
Case 1:18-cv-00719-CCR   Document 219-2    Filed 07/12/24   Page 2 of 7
                                                                      1




 1          UNITED STATES DISTRICT COURT

 2          FOR THE WESTERN DISTRICT OF NEW YORK

 3

 4          BLACK LOVE RESISTS IN THE RUST, et al.,
            individually and on behalf of a class of
 5          all others similarly situated,

 6                                          Plaintiffs,

 7            -vs-                                      1:18-cv-00719-CCR

 8          CITY OF BUFFALO, N.Y., et al.,

 9                                          Defendants.

10                    DEPOSITION OF JOSEPH GRAMAGLIA

11                   Taken pursuant to Rule 30(b) (6)

12              of the Federal Rules of Civil Procedure

13                        APPEARING REMOTELY FROM

14                         BUFFALO,       NEW YORK

15

16

17                        January 24th,          2024

18                        At 2:15 p.m.

19                        Pursuant to notice

20

21          REPORTED BY:

22          Rebecca L.     DiBello,       RPR,    CSR(NY)
23




     ~--DEPAOLO CROSBY REPORTING SERVICES, INC.--~
        135 Delaware Avenue, Suite 301, Buffalo, New York             14202
                                 716-853-5544
Case 1:18-cv-00719-CCR   Document 219-2   Filed 07/12/24   Page 3 of 7
                                                                     2




 1          R E M O T E        A P P E A R A N C E S

 2          APPEARING FOR THE PLAINTIFFS:

 3
                              COVINGTON & BURLING, LLP
 4                            BY: JORDAN JOACHIM, ESQ.,
                              620 Eighth Avenue
 5                            New York, New York 10018
                              (212) 841-1086
 6

 7          APPEARING FOR THE DEFENDANTS:

 8                             HODGSON RUSS, LLP
                               BY: ADAM W. PERRY, ESQ.
 9                             AND CHEYENNE N. FREELY, ESQ.,
                               140 Pearl Street
10                             Buffalo, New York 14202
                               (716) 856-4000
11

12
            ALSO PRESENT:
13
                    ANDREW TIMMICK, ESQ.,
14                     Covington & Burling,            LLP

15                  A.   CHINYERE EZIE, ESQ.,
                         Center for Constitutional Rights
16
                    ANJANA MALHOTRA, ESQ.,
17                     National Center for Law
                       and Economic Justice
18
                    CLAUDIA WILNER, ESQ.,
19                     National Center for Law
                       and Economic Justice
20

21

22

23




     ~--DEPAOLO CROSBY REPORTING SERVICES, INC.--~
        135 Delaware Avenue, Suite 301, Buffalo, New York            14202
                                 716-853-5544
Case 1:18-cv-00719-CCR    Document 219-2   Filed 07/12/24   Page 4 of 7
                                                                      43

     .-----------------ulOSEPH GRAMAGLIA----------------,


 1            it on the traffic ticket,           so how are you going

 2            to audit the data that's not there and it

 3            would be -- you don't have it.                You don't have

 4            to it audit.

 5       Q.   So is there any other reason why those audits

 6            are not completed?

 7                  MS.    FREELY:     Objection to form.

 8       A.   The reason is that we conduct traffic stops

 9            based on constitutional policing,               based on

10            probable cause that the operator of the

11            vehicle committed a vehicle and traffic

12            violation.

13                  We don't stop people based on their race

14            in either direction.         We stop people if we

15            have a valid reason,         probable cause to stop

16            that vehicle for a vehicle and traffic

17            violation.      If somebody goes through a stop

18            sign regardless of what their race is and it

19            was in the presence of the officer,                which is a

20            requirement for a traffic infraction.                   It has

21            to be in the officer's presence.                They should

22            if they can stop that vehicle and take

23            appropriate action.




     ~--DEPAOLO CROSBY REPORTING SERVICES, INC.--~
        135 Delaware Avenue, Suite 301, Buffalo, New York             14202
                                  716-853-5544
Case 1:18-cv-00719-CCR      Document 219-2   Filed 07/12/24   Page 5 of 7
                                                                        45

     .-----------------ulOSEPH GRAMAGLIA----------------,


 1            to the best of their ability on that -- in

 2            response to that?

 3       A.   It's a mandatory field.              They cannot validate

 4            that form and print it out without putting

 5            something in the box.

 6       Q.   Are officers asked to fill out that -- to fill

 7            in race on that form to the best of their

 8            ability?

 9       A.   Yes,    if they can.

10       Q.   I'd like to show Exhibit 50.                This is the

11            Buffalo Police Department rules and

12            regulations.        Do you see that?

13       A.   I do.

14       Q.   And is it your position that -- and by the

15            way,    this is the rules and regulations prior

16            to the MOP update we were previously

17            discussing,       right?

18       A.   Yes.

19       Q.   And you testified that there is provisions

20            that prohibit racial bias;             is that right?

21                    MS.    FREELY:     Objection to form.

22       A.   Yes.

23       Q.   Do you recall,        looking at the table of




     ~--DEPAOLO CROSBY REPORTING SERVICES, INC.--~
        135 Delaware Avenue, Suite 301, Buffalo, New York               14202
                                    716-853-5544
Case 1:18-cv-00719-CCR      Document 219-2   Filed 07/12/24   Page 6 of 7
                                                                        46

     .-----------------ulOSEPH GRAMAGLIA----------------,


 1            contents,      what part of the rules and

 2            regulations?

 3       A.   Well,   you can go to Section 2.12.

 4       Q.   Do we have the whole thing here?                  Okay.        2. 12 .

 5       A.   Attitude and impartiality.

 6       Q.   Does that say anything about racial bias or

 7            discrimination?

 8                    MS.    FREELY:     Objection to form.

 9       A.   It doesn't say it specifically,                 but it

10            employees while vigorous and unrelenting in

11            their enforcement of law must maintain a

12            strictly impartial attitude toward

13            complainants,       violators,       witnesses and

14            suspects.

15       Q.   So that doesn't say anything about racial bias

16            or discrimination,         correct?

17                    MS.    FREELY:     Same objection.

18       A.   Well,   impartial attitude means you shall have

19            an impartial attitude across the board,                    so

20            it's kind of a larger umbrella over that.

21       Q.   Are there any other provisions of these rules

22            and regulations you believe prohibit racial

23            bias or discrimination?




     ~--DEPAOLO CROSBY REPORTING SERVICES, INC.--~
        135 Delaware Avenue, Suite 301, Buffalo, New York               14202
                                    716-853-5544
Case 1:18-cv-00719-CCR    Document 219-2   Filed 07/12/24    Page 7 of 7
                                                                       47

     .-----------------ulOSEPH GRAMAGLIA----------------,


 1       A.   Conduct,    Section 3. 2.

 2       Q.   Does this provision say anything about racial

 3            bias or discrimination?

 4                  MS.    FREELY:     Objection to form.

 5       A.   It doesn't say those exact words but,                  again,

 6            it's an overarching umbrella that covers

 7            everything,     all of that,       how you are to

 8            conduct yourself.

 9       Q.   Any other provisions you're aware of?

10       A.   No.   Those are the two main overarching

11            umbrellas that -- we would use conduct as

12            really much more widely used.                 When doing

13            charges that there was to be a violation of

14            the Manual of Procedures or the rules and

15            regulations conduct would be the overarching

16            charge that almost always gets added on,

17            depending on the conduct.

18                  That would include if there were

19            anything related to what we're discussing here

20            or any types of racial bias.

21       Q.   And why did you choose to make the prohibition

22            on racial discrimination explicit in the MOP

23            update from 2021?




     ~--DEPAOLO CROSBY REPORTING SERVICES, INC.--~
        135 Delaware Avenue, Suite 301, Buffalo, New York              14202
                                  716-853-5544
